                                   1

                                   2

                                   3

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7    COLIN SCHOLL, et al.,                              Case No. 3:20-cv-05309-CRB
                                                       Plaintiffs,
                                   8
                                                                                           ORDER OF RECUSAL
                                                v.
                                   9

                                  10    STEVEN MNUCHIN, et al.,
                                                       Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          TO ALL PARTIES AND COUNSEL OF RECORD:

                                  14          I, the undersigned judge of the court, finding myself disqualified in the above-entitled

                                  15   action, hereby recuse myself from this case and request that the case be reassigned pursuant to the

                                  16   Assignment Plan.

                                  17          All pending dates of motions, pretrial conferences and trial are hereby vacated and will be

                                  18   reset by the newly assigned judge.

                                  19          IT IS SO ORDERED.

                                  20   Dated: August 5, 2020

                                  21                                                   ______________________________________
                                                                                       CHARLES R. BREYER
                                  22                                                   United States District Judge
                                  23

                                  24

                                  25

                                  26

                                  27

                                  28
